Case 2:14-cv-04806-JFW-JEM Document 150 Filed 09/26/14 Page 1 of 27 Page ID #:1123
Case 2:14-cv-04806-JFW-JEM Document 150 Filed 09/26/14 Page 2 of 27 Page ID #:1124
Case 2:14-cv-04806-JFW-JEM Document 150 Filed 09/26/14 Page 3 of 27 Page ID #:1125
Case 2:14-cv-04806-JFW-JEM Document 150 Filed 09/26/14 Page 4 of 27 Page ID #:1126
Case 2:14-cv-04806-JFW-JEM Document 150 Filed 09/26/14 Page 5 of 27 Page ID #:1127
Case 2:14-cv-04806-JFW-JEM Document 150 Filed 09/26/14 Page 6 of 27 Page ID #:1128
Case 2:14-cv-04806-JFW-JEM Document 150 Filed 09/26/14 Page 7 of 27 Page ID #:1129
Case 2:14-cv-04806-JFW-JEM Document 150 Filed 09/26/14 Page 8 of 27 Page ID #:1130
Case 2:14-cv-04806-JFW-JEM Document 150 Filed 09/26/14 Page 9 of 27 Page ID #:1131
Case 2:14-cv-04806-JFW-JEM Document 150 Filed 09/26/14 Page 10 of 27 Page ID
                                 #:1132
Case 2:14-cv-04806-JFW-JEM Document 150 Filed 09/26/14 Page 11 of 27 Page ID
                                 #:1133
Case 2:14-cv-04806-JFW-JEM Document 150 Filed 09/26/14 Page 12 of 27 Page ID
                                 #:1134
Case 2:14-cv-04806-JFW-JEM Document 150 Filed 09/26/14 Page 13 of 27 Page ID
                                 #:1135
Case 2:14-cv-04806-JFW-JEM Document 150 Filed 09/26/14 Page 14 of 27 Page ID
                                 #:1136
Case 2:14-cv-04806-JFW-JEM Document 150 Filed 09/26/14 Page 15 of 27 Page ID
                                 #:1137
Case 2:14-cv-04806-JFW-JEM Document 150 Filed 09/26/14 Page 16 of 27 Page ID
                                 #:1138
Case 2:14-cv-04806-JFW-JEM Document 150 Filed 09/26/14 Page 17 of 27 Page ID
                                 #:1139
Case 2:14-cv-04806-JFW-JEM Document 150 Filed 09/26/14 Page 18 of 27 Page ID
                                 #:1140
Case 2:14-cv-04806-JFW-JEM Document 150 Filed 09/26/14 Page 19 of 27 Page ID
                                 #:1141
Case 2:14-cv-04806-JFW-JEM Document 150 Filed 09/26/14 Page 20 of 27 Page ID
                                 #:1142
Case 2:14-cv-04806-JFW-JEM Document 150 Filed 09/26/14 Page 21 of 27 Page ID
                                 #:1143
Case 2:14-cv-04806-JFW-JEM Document 150 Filed 09/26/14 Page 22 of 27 Page ID
                                 #:1144
Case 2:14-cv-04806-JFW-JEM Document 150 Filed 09/26/14 Page 23 of 27 Page ID
                                 #:1145
Case 2:14-cv-04806-JFW-JEM Document 150 Filed 09/26/14 Page 24 of 27 Page ID
                                 #:1146
Case 2:14-cv-04806-JFW-JEM Document 150 Filed 09/26/14 Page 25 of 27 Page ID
                                 #:1147
Case 2:14-cv-04806-JFW-JEM Document 150 Filed 09/26/14 Page 26 of 27 Page ID
                                 #:1148
Case 2:14-cv-04806-JFW-JEM Document 150 Filed 09/26/14 Page 27 of 27 Page ID
                                 #:1149
